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14                      IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF ARIZONA
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17     Frank Jarvis Atwood,                         No. CV-22-00625-PHX-JAT (JZB)
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                         Plaintiff,                 PLAINTIFF’S NOTICE OF INTENT
19
                                                    TO FILE EMERGENCY MOTION
      v.
20                                                  FOR INJUNCTIVE RELIEF
      David Shinn, et al.,
21
                         Defendants.
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25         On May 19, 2022, this Court ordered Plaintiff Frank Atwood to file a notice, by
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     May 25, 2022, of whether and when he intends to file an emergency motion for
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     injunctive relief (Doc. 16). On May 25, but before Mr. Atwood filed the required notice,
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 1   this Court also ordered him to respond to the Defendants’ two pending motions by

 2   Tuesday, May 31, 2022. (Doc. 20). Later the same day, this Court ordered the parties
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     must file either an agreed form of injunction or the defendants must file a Notice
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 5   indicating where they disagree, also by Tuesday, May 31, 2022 (Doc. 21). In light of

 6   these developments, if the parties have not fully resolved the case by Tuesday, May 31,
 7
     2022, Mr. Atwood will file a motion for preliminary injunctive relief along with his
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     response to the Defendants’ Motion to Dismiss (Doc. 19), which will be filed, as this
 9
10   Court has ordered, no later than Tuesday, May 31, 2022.
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            Dated this 25 th day of May 2022.
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13                                                    /s/ Joseph J. Perkovich
14                                                    JOSEPH J. PERKOVICH
                                                      AMY P. KNIGHT
15                                                    Attorneys for Frank Jarvis Atwood
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